        Case 14-14865 Doc 142-1 Filed 10/03/17 Entered 10/03/17 14:22:57                                        Desc
                   Statement Accompanying Relief From Stay Page 1 of 2
                                          REQUIRED STATEMENT
                                TO ACCOMPANY MOTIONS FOR RELIEF FROM STAY

All Cases:     Debtor(s)     Goran Ilijevski                                        Case No. 14-14865          Chapter      13

                               HSBC BANK USA, NATIONAL ASSOCIATION AS
                               TRUSTEE FOR WELLS FARGO ASSET SECURITIES
                               CORPORATION, MORTGAGE PASS-THROUGH
All Cases:     Moving Creditor CERTIFICATES, SERIES 2006-15                                      Date Case Filed      4/21/14

Nature of Relief
                               Lift Stay        Annul Stay          Other (describe) Dismissal and Co-Debtor Stay
Sought:

Chapter 13:           Date of Confirmation Hearing                          or Date Plan Confirmed       03/20/2015

Chapter 7:             No-Asset Report Filed on
                       No-Asset Report not Filed, Date of Creditors Meeting

1.        Collateral
          a.  Home
          b.  Car        Year, Make, and Model
          c.  Other (describe)

2.        Balance Owed as of Petition Date       $419,341.20
          Total of all other Liens against Collateral $51,037.00

          In chapter 13 cases, if a post-petition default is asserted in the motion, attach a payment history listing the
3.
          amounts and dates of all payments received from the debtor(s) post-petition.

4.        Estimated Value of Collateral (must be supplied in all cases) $500,000.00, per Debtor's Schedules

5.        Default
          a.  Pre-Petition Default as of petition date
              Number of months      26               Amount           $119,626.90

          b.          Post-Petition Default
                i.           On direct payments to the moving creditor
                            Number of months    15             Amount          $68,950.76

                ii.           On payments to the Standing Chapter 13 Trustee
                             Number of months                 Amount

6.        Other Allegations
           a.  Lack of Adequate Protection § 362(d)(1)
                i.        No insurance
                ii.       Taxes unpaid               Amount         $
                iii.      Rapidly depreciating asset
                iv.       Other (describe)

          b.     No Equity and not Necessary for an Effective Reorganization § 362(d)(2)

          c.     Other "Cause" § 362(d)(1)
                i.      Bad Faith (describe)
                ii.     Multiple Filings
                iii.    Other (describe)

          d.    Debtor's Statement of Intention regarding the Collateral
                i.  Reaffirm        ii.  Redeem          iii.  Surrender           iv.  No Statement of Intention Filed

Date:     October 3, 2017                                                                /s/ Jose Moreno
                                                                                        Counsel for Movant
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